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                                                               district court granted the petition and we affirmed. CFPB v.
                                                               Seila Law LLC, 923 F.3d 680 (9th Cir. 2019). Upon review of
                  2020 WL 7705549
                                                               our court's decision, the Supreme Court held that the statute
    Only the Westlaw citation is currently available.
                                                               establishing the CFPB violated the Constitution's separation
     United States Court of Appeals, Ninth Circuit.
                                                               of powers by placing leadership of the agency in the hands of
       CONSUMER FINANCIAL PROTECTION                           a single Director who could be removed only for cause. Seila
           BUREAU, Petitioner-Appellee,                        Law LLC v. CFPB, ––– U.S. ––––, 140 S. Ct. 2183, 2197,
                       v.                                      207 L.Ed.2d 494 (2020). The Court concluded, however,
                                                               that the for-cause removal provision could be severed from
       SEILA LAW LLC, Respondent-Appellant.
                                                               the rest of the statute and thus did not require invalidation
                       No. 17-56324                            of the agency itself, as Seila Law had urged. Id. at 2209–
                             |                                 11 (plurality opinion); id. at 2245 (Kagan, J., concurring
            Argued and Submitted November                      in judgment with respect to severability and dissenting in
            19, 2020 San Francisco, California                 part). The Court vacated our judgment and remanded so that
                             |                                 we could consider in the first instance “whether the civil
                 Filed December 29, 2020                       investigative demand was validly ratified” by former Acting
                                                               Director Mick Mulvaney during his year-long stint in that
Attorneys and Law Firms                                        office. Id. at 2208, 2211.

Anthony R. Bisconti (argued) and Thomas H. Bienert Jr.,
                                                               We conclude that the CID was validly ratified, but we
Bienert Katzman PC, Los Angeles, California; Kannon K.
                                                               need not decide whether that occurred through the actions
Shanmugam, Paul Weiss Rifkind Wharton & Garrison LLP,
                                                               of Acting Director Mulvaney. On July 9, 2020, after
Washington, D.C.; for Respondent-Appellant.
                                                               the Supreme Court's ruling, the CFPB's current Director,
Kevin E. Friedl (argued) and Christopher J. Deal, Attorneys;   Kathleen Kraninger, expressly ratified the agency's earlier
Steven Y. Bressler, Assistant General Counsel; John            decisions “to issue the civil investigative demand to Seila
R. Coleman, Deputy General Counsel; Mary McLeod,               Law, to deny Seila Law's request to modify or set aside the
General Counsel; Consumer Financial Protection Bureau,         CID, and to file a petition requesting that the district court
Washington, D.C.; for Petitioner-Appellee.                     enforce the CID.” At the time that she ratified these decisions,
                                                               Director Kraninger knew that the President could remove her
On Remand From the United States Supreme Court, D.C. No.       with or without cause. She nonetheless ratified the agency's
8:17-cv-01081-JLS-JEM                                          issuance of the CID and ongoing efforts to enforce it.

Before: Susan P. Graber and Paul J. Watford, Circuit Judges,   Director Kraninger's ratification remedies any constitutional
                  *                                            injury that Seila Law may have suffered due to the manner
and Jack Zouhary, District Judge.
                                                               in which the CFPB was originally structured. Seila Law's
*                                                              only cognizable injury arose from the fact that the agency
       The Honorable Jack Zouhary, United States
       District Judge for the Northern District of Ohio,       issued the CID and pursued its enforcement while headed by
       sitting by designation.                                 a Director who was improperly insulated from the President's
                                                               removal authority. Any concerns that Seila Law might have
                                                               had about being subjected to investigation without adequate
                                                               presidential oversight and control have now been resolved. A
                        OPINION                                Director well aware that she may be removed by the President
                                                               at will has ratified her predecessors’ earlier decisions to issue
WATFORD, Circuit Judge:
                                                               and enforce the CID.
In February 2017, the Consumer Financial Protection Bureau
(CFPB) issued a civil investigative demand (CID) to Seila      Seila Law advances two arguments challenging the validity
Law LLC, requiring the firm to produce documents and           of Director Kraninger's ratification, neither of which we find
answer interrogatories. Seila Law refused to comply. In June   persuasive.
2017, the CFPB filed a petition to enforce the CID. The



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As a threshold matter, Seila Law contends that Director             remanding for us to consider whether the agency's actions
Kraninger could not validly ratify the CFPB's earlier actions       relating to the CID had been validly ratified.
because the agency lacked the authority to take those actions
back in 2017. Seila Law bases this argument on the statement        We find strong support for our holding in Federal Election
in Federal Election Commission v. NRA Political Victory             Commission v. Legi-Tech, Inc., 75 F.3d 704 (D.C. Cir. 1996),
Fund, 513 U.S. 88, 115 S.Ct. 537, 130 L.Ed.2d 439 (1994),           a case cited with approval in Gordon. 819 F.3d at 1191.
that “it is essential that the party ratifying should be able not   In Legi-Tech, the Federal Election Commission brought a
merely to do the act ratified at the time the act was done,         civil enforcement action while two congressional officers
but also at the time the ratification was made.” Id. at 98, 115     were impermissibly serving as ex officio members of the
S.Ct. 537 (emphasis omitted). In Seila Law's view, until the        Commission. 75 F.3d at 706. After the presence of those
Supreme Court invalidated the for-cause removal provision,          members was held to violate the separation of powers,
the CFPB was exercising executive power unlawfully, which           the Commission reconstituted itself and ratified its earlier
in turn rendered all of the agency's prior actions void at the      decision to bring the enforcement action. Id. at 706, 708. The
time they were taken and hence incapable of being ratified.         D.C. Circuit held that the ratification was valid and, in doing
                                                                    so, rejected the same argument Seila Law advances here—
 *3 Seila Law's argument is largely foreclosed by our court's       namely, that a “structural” constitutional defect in an agency's
decision in CFPB v. Gordon, 819 F.3d 1179 (9th Cir. 2016).          composition renders all of the agency's prior actions void.
In that case, the CFPB initiated an enforcement action after        Id. at 708–09. Taken together, Legi-Tech and Gordon confirm
Richard Cordray had been appointed as the agency's Director         that ratification is available to cure both Appointments Clause
pursuant to President Obama's recess appointment power. Id.         defects and structural, separation-of-powers defects.
at 1185–86. Shortly thereafter, the Supreme Court's decision
in NLRB v. Noel Canning, 573 U.S. 513, 134 S.Ct. 2550,              Seila Law's remaining argument is that Director Kraninger's
189 L.Ed.2d 538 (2014), called into question the validity of        July 2020 ratification is invalid because it took place outside
Director Cordray's appointment. After he was renominated            the limitations period for bringing an enforcement action
and confirmed by the Senate, Director Cordray issued a              against Seila Law. In support of its position, Seila Law again
blanket ratification of all actions he had taken while serving      relies on the Supreme Court's decision in NRA Political
as a recess appointee. Gordon, 819 F.3d at 1185–86. We held         Victory Fund—in particular, its holding that the Solicitor
that Director Cordray's ratification cured any Appointments         General could not validly ratify the filing of an unauthorized
Clause defect in the initiation of the enforcement action           petition for certiorari when the attempted ratification occurred
against the defendant. Id. at 1192. Addressing the same             after the time for filing the petition had already run. 513 U.S.
passage from NRA Political Victory Fund quoted above, we            at 98, 115 S.Ct. 537.
reasoned that the constitutional defect was limited to Director
Cordray and did not infect the agency as a whole. Thus, the         The statute of limitations relevant here states that, “[e]xcept
CFPB as an agency had the authority to bring the enforcement        as otherwise permitted by law or equity, no action may be
action both at “the time the act was done” and at “the time the     brought under this title more than 3 years after the date of
ratification was made.” Id. at 1191–92.                             discovery of the violation to which an action relates.” 12
                                                                    U.S.C. § 5564(g)(1). According to Seila Law, the “date of
The same is true here. Just as in Gordon, the constitutional        discovery of the violation” was February 18, 2016, when the
infirmity relates to the Director alone, not to the legality of     CFPB filed an application (in a proceeding brought against
the agency itself. Although the Supreme Court held in Seila         a different entity) that accused Seila Law of wrongdoing.
Law that the CFPB's “structure” violated the separation of          Alternatively, Seila Law contends that the limitations period
powers, 140 S. Ct. at 2192, the Court explained that “[t]he         began to run at the very latest on February 27, 2017, when the
only constitutional defect we have identified in the CFPB's         CFPB issued the CID at issue.
structure is the Director's insulation from removal.” Id. at
2209. Nothing in the Court's decision suggests that it believed      *4 Seila Law's argument fails because this statutory
this defect rendered all of the agency's prior actions void.        limitations period pertains solely to the bringing of an
Indeed, had that been the Court's view, it presumably would         enforcement action, which the CFPB has not yet commenced
have ordered the dismissal of this proceeding rather than           against Seila Law. The only actions ratified by Director
                                                                    Kraninger are the issuance and enforcement of the CID. The



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very purpose of such a demand is to assist the agency in             untimely. Id. at 1295. We stated that the “statute of limitations
                                                                     issue has been raised prematurely” and held that the demand
determining whether Seila Law has engaged in violations that
                                                                     should be enforced so that the agency could investigate
could justify bringing an enforcement action; it is impossible
                                                                     whether there was a continuing violation that would render
to know at this point whether such an action would (or would
not) be timely.                                                      the complaint timely. Id. at 1296. Seila Law has similarly
                                                                     raised its statute-of-limitations argument prematurely.
Whether Seila Law would be able to mount a successful
statute-of-limitations defense in a future enforcement action        For the reasons given in our earlier decision, we reject Seila
has no bearing on the validity of Director Kraninger's               Law's arguments challenging the CFPB's statutory authority
ratification. “[A] party may not defeat agency authority to          to issue the CID. 923 F.3d at 684–85. Accordingly, we
investigate with a claim that could be a defense if the agency       reaffirm the district court's order granting the CFPB's petition
                                                                     to enforce the CID.
subsequently decides to bring an action against it.” EEOC
v. Children's Hospital Medical Center, 719 F.2d 1426, 1429
                                                                     AFFIRMED.
(9th Cir. 1983) (en banc). We have applied that principle
specifically in the statute-of-limitations context. In Pacific
Maritime Association v. Quinn, 491 F.2d 1294 (9th Cir. 1974),        All Citations
the employer resisted a demand for documents from the
Equal Employment Opportunity Commission on the ground                --- F.3d ----, 2020 WL 7705549
that the employee's underlying discrimination complaint was

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